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WESTERN DISTRICT OF TENNESSEE `

WESTERN DIVISION FttED BY ______ 911

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Plalntlff, ) Case No. 2.04cv2666-B/V CL}CP§K’*U“S. DzS‘£E*éT'

v. ) w n. ot-' Tr~`x, raar\,-iaucs
)
MERRYLAND CHILD CARE AND )
DEVELOPMENT CENTER,. a/k/a )

MERRYLAND KINDERGARTEN, INC. )
a/kfa MERRYLAND KINDERGARTEN )
AND DAY CARE CENTER, INC.; et al., )

)
Defendants. )

 

ORDER GRANTING REQUEST FOR ENTRY OF DEFAULT

 

Upon the Motion for Entry of Default, entered on June 6, 2005, entry of DEFAULT
IS HEREBY GRANTED against the defendant, Lavada Herman pursuant to FRCP 55(a).

On September 15, 2004, this Court flled the summons returned executed to Lavada Herman
as executed on August 30 , 2004. Defendant had twenty days within which to answer or otherwise
plead. Defendant Lavada Herman has failed to plead or otherwise defend as provided by the Federal
Rules of Civil Procedure.

ln compliance with Rule 5 5(a), FRCP., plaintiffs motion for entry of default against the
above-named defendant is GRANTED. In accordance to Rule 55(0) for good cause shown, the court
may set aside an entry of default

Entered this 6th day of June, 2005.

ROBERT R. DI TROLIO
Clerk of Court

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57 d Deputy Cquk
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UNIED TATES DISTRICT COURT- 4 WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CV-02666 was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

